         FIRST DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
                  _____________________________

                         No. 1D2023-3244
                  _____________________________

MICHAEL V. MONTIJO,

    Petitioner,

    v.

RICKY D. DIXON, Secretary,
Florida Department of
Corrections,

    Respondent.
                  _____________________________


Petition for Writ of Certiorari—Original Jurisdiction.


                         August 27, 2024


PER CURIAM.

    The Court denies the petition for writ of certiorari on the
merits.

ROWE, KELSEY, and LONG, JJ., concur.
               _____________________________

    Not final until disposition of any timely and
    authorized motion under Fla. R. App. P. 9.330 or
    9.331.
               _____________________________
Michael V. Montijo, pro se, Petitioner.

Ashley Moody, Attorney General, Tallahassee, for Respondent.




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